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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF MARYLAND

                                         :
ANTONIO LAMONT GAITHERS
     Petitioner                          :

       v.                                :   Criminal No. DKC 12-0300
                                             Civil Action No. DKC 16-2073
                                         :
UNITED STATES OF AMERICA
     Respondent                          :

                                MEMORANDUM OPINION

       Petitioner Antonio Lamont Gaithers was charged in a six count

indictment with (count 1) conspiracy to interfere with interstate

commerce by robbery (9/1/2011-2/1/2012), (Count 2) interference

with       interstate   commerce    by   robbery   (9/20/2011),       (count    3)

interference with interstate commerce by robbery (10/7/2011),

(count 4) brandishing a firearm during and in relation to a crime

of violence charged in counts one and three (10/7/2011), (count 5)

interference with commerce by robbery (1/16/2012), and (count 6)

brandishing a firearm during and in relation to a crime of violence

charged in counts one and five (1/16/2012).              He pleaded guilty to

counts 3, 5, and 6; counts 1, 2, and 4 were dismissed.                     He now

contends that his conviction on count 6 must be vacated, and he

should be resentenced on counts 3 and 5.1                  For the following

reasons, the motion will be denied.


       1
       The original Motion to Vacate Judgment Under 28 U.S.C. §2255
filed June 10, 2016, (ECF No. 127), (with a supplement filed by
petitioner pro se, (ECF No. 130)), was stayed for quite some time
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     Count Six reads as follows:

          On or about January 16, 2012, in the District
          of Maryland, the Defendants, DAVON STEPHON
          WILLIAMS, JEFFERY LOUIS ADAMS, and ANTONIO
          LAMONT GAITHERS, a/k/a Antonio Lamont Gathers,
          did knowingly, intentionally and unlawfully
          use, carry and brandish a firearm - to wit: a
          handgun – during and in relation to a crime of
          violence for which they may be prosecuted in
          a court of the United States, to wit:
          conspiracy   to   commit   interference   with
          commerce by robbery, and interference with
          commerce by robbery, in violation of 18 U.S.C.
          § 1951(a), as set forth in Counts One and Five
          of this Indictment and incorporated here.

     Count Five reads as follows:

          On or about January 16, 2012, in the District
          of Maryland, the Defendants DAVON STEPHON
          WILLIAMS, JEFFERY LOUIS ADAMS, and ANTONIO
          LAMONT GAITHERS, a/k/a Antonio Lamont Gathers,
          did knowingly and unlawfully obstruct, delay
          and affect and attempt to obstruct, delay and
          affect commerce by robbery, as those terms are
          defined in Title 18, United States Code,
          Section 1951, in that the Defendants did
          unlawfully take and obtain property consisting
          of United States currency in the amount of
          $88,000.00 more or less and various checks
          totaling $13,000.00, more or less, from the
          person and presence of a Garda employee
          located outside the Bowie Walmart, against the
          employee's will by means of actual and
          threatened force, violence, and fear of


pending various appellate decisions.         Petitioner moved to
supplement on July 19, 2019, (ECF No. 138), and the stay was
lifted. The motion to supplement will be granted. The government
responded to the supplemented motion, (ECF No. 157), and Petitioner
filed a reply. (ECF Nos. 159, 161.) Counsel filed supplemental
correspondence. (ECF Nos. 165, 167, and 171.)
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             injury, immediate and future, to said employee
             by threatening physical injury and death to
             said employee.

     The statement of facts in support of the plea specified in

part that:

             On January 16, 2012, at approximately 8:02
             a.m.,   GAITHERS,   armed  with   a   handgun,
             confronted an employee of Garda Cash Logistics
             when the Garda employee was carrying a money
             bag containing $88,659.03 in United States
             currency and $13,337.90 in checks from the
             Bowie Walmart store to a Garda armored
             transport vehicle parked in front of the
             store. . . . The robber pointed his handgun at
             the Garda employee and demanded the money. The
             Garda employee complied and GAITHERS ran with
             the money bag into a white van occupied by
             other co-conspirators. The van sped away[.]

(ECF No. 99-1, at 1.)        Because of recent appellate decisions in

the wake of Johnson v. United States, 135 S.Ct. 2551 (2015), the

conspiracy to commit a Hobbs Act robbery charged in count one

cannot be a predicate crime of violence for a 924(c) conviction,

while the Hobbs Act robbery charged in count five still qualifies.

Mr. Gaithers contends that it cannot be determined categorically

that his conviction on count six was not based on count one, and,

as a result, that conviction must be vacated.                 The government

disagrees, and argues that the 924(c) conviction was based on both

underlying crimes and thus, because one of them still qualifies as

a crime of violence, the 924(c) conviction need not be disturbed.
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     Several district courts in the Fourth Circuit have rejected

claims like those made by Mr. Gaithers.         For example, in United

States v. Taylor, 2019 WL 4018340 *5 (E.D.Va. August 26, 2019),

Judge Lauck concluded that:

          Taylor’s conviction remains valid after
          Johnson and its progeny because it was
          predicated on attempting to aid and abet Hobbs
          Act robbery charged in Count Six. See United
          States v. Doyle, No. 2:18cr177, 2019 WL
          3225705,   at    *3-4   (E.D.Va.    July   17,
          2019)(finding §924(c) conviction valid when
          based on both conspiracy to commit Hobbs Act
          robbery and Hobbs Act robbery); cf. United
          States v. Hare, 820 F.3d 93, 105-06 (4th Cir.
          2016)(explaining that “the court need not
          reach the merits of this argument . . .
          [because]” a §924(c) conviction predicated on
          both conspiracy to commit Hobbs Act robbery
          and in furtherance of a drug trafficking crime
          is not affected by Johnson.)

See also United States v. Porcher, 2019 WL 4014732 *6 (D.S.C.

August 26, 2019).   Although the Fourth Circuit has not yet spoken

on this precise issue, other appellate courts have.              See In re

Navarro, 931 F.3d 1298, 1302-04 (11th Cir. 2019); United States v.

Ventura, 742 F.App’x 575, 578 (2d Cir. 2018).




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        Petitioner attempts to avoid this result by insisting that it

is not appropriate to try to discern whether his 924(c) conviction

was premised on one, the other, or both of the alleged predicate

offenses, citing United States v. Vann, 660 F.3d 771 (4th Cir.

2011, and United States v. Chapman, 666 F.3d 220 (4th Cir. 2012).

He also cites to out of circuit cases, United States v. Horse

Looking, 828 F.3d 744 (8th Cir. 2016); United States v. Kennedy,

881 F.3d 14 (1st Cir. 2018), and In re Gomez, 830 F.3d 1225 (11th

Cir. 2016); and a trial court decision, United States v. Lettiere,

2018 WL 3429927 (D.Mont. July 16, 2018). All of those cases either

were      answering    other     questions     or     presented      different

circumstances, such as a general jury verdict and not a guilty

plea.

        While the charging language of count six alleged that the

firearm was brandished in connection with both the conspiracy and

the actual robbery, there is no ambiguity in the record that the

actual robbery in count five supported the firearm conviction.

Petitioner     pleaded    guilty    to    count     five,   and    the    facts

unequivocally support that conviction.         The guideline stipulations

in the plea agreement included the recognition that, for count

five, there would be no enhancement for brandishing the firearm

because he was also pleading to the 924(c) charge.              (ECF No. 99 at
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4.)   The presentence report reached a similar conclusion in the

guideline calculation.         (ECF No. 102, at 6.)      The record may also

support a finding that the firearm was brandished during and in

relation to the conspiracy charged in count one, but that is of no

moment.    There is no possibility that the 924(c) conviction rests

on the conspiracy charge in count one alone.                Accordingly, the

motion to vacate will be denied.

      Pursuant to Rule 11(a) of the Rules Governing Proceedings

under 28 U.S.C. § 2255, the court is also required to issue or

deny a certificate of appealability when it enters a final order

adverse to the applicant.          A certificate of appealability is a

“jurisdictional     prerequisite”     to   an   appeal     from     the   court’s

earlier order.      United States v. Hadden, 475 F.3d 652, 659 (4th

Cir. 2007).    A certificate of appealability may issue “only if the

applicant has made a substantial showing of the denial of a

constitutional right.”         28 U.S.C. § 2253(c)(2).           Where the court

denies petitioner’s motion on its merits, a petitioner satisfies

this standard by demonstrating that reasonable jurists would find

the court’s assessment of the claim debatable or wrong.                   Slack v.

McDaniel, 529 U.S. 473, 484 (2000); see also Miller-El v. Cockrell,

537 U.S. 322, 336–38 (2003).        Upon review of the record, the court



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finds   that   Petitioner    has   not       satisfied   the   above    standard.

Accordingly, a certificate of appealability will not issue.



                                           /s/
                                    DEBORAH K. CHASANOW
                                    United States District Judge




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